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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

      360 DEGREE EDUCATION,
      LLC, ET AL.,

           Plaintiffs,

      v.                                                 No. 4:24-cv-0508-P

      UNITED STATES
      DEPARTMENT OF
      EDUCATION, ET AL.,

           Defendants.


                         ORDER RESETTING HEARING
        The Court previously scheduled a hearing in this matter for
      Thursday, January 9, 2025, at 1:30 p.m. in the Fourth Floor Courtroom
      of the Eldon B. Mahon Courthouse, 501 W. 10th Street, Fort Worth,
      Texas 76102. However, due to the National Day of Mourning scheduled
      that same day, the Court finds it appropriate to reschedule the hearing
      for Friday, January 10, 2025, at 1:30 p.m.

           SO ORDERED on this 2nd day of January 2025.




                                  MARK T. PITTMAN
                                  UNITED STATES DISTRICT JUDGE
